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                               UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                      SANTA ANA DIVISION


IN RE:                                                       CASE NO. 8:13-bk-14355-ES
                                                             CHAPTER 13
James Patrick Maher
                                                             JUDGE ERITHE A. SMITH

         DEBTOR                                              NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, AMRANE
COHEN CH.13 TRUSTEE files this Notice of Final Cure Payment. The amount required to cure the
default in the claim listed below has been paid in full.

Name of Creditor: U.S. BANK TRUST N.A.



Final Cure Amount

Court   Account                                  Claim               Claim               Amount
Claim # Number                                   Asserted            Allowed             Paid

   2      8358                                   $0.00               $38,381.64          $38,381.64

Total Amount Paid by Trustee                                                             $38,381.64


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

     Through the Chapter 13 Conduit                   X Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
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                                                                           CASE NO. 8:13-bk-14355-ES


                                    CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Mail or served electronically through the Court’s ECF System at the e-mail
address registered with the Court on this 20th day of November, 2018.


James Patrick Maher, 27 Via Lavendera, RanchoSantaMargarita, CA 92688


ELECTRONIC SERVICE - Brian J Soo-Hoo, Bankruptcy Law Professionals, 601 Parkcenter Dr Ste 105,
Santa Ana, CA 92705-3543


U.S. BANK TRUST N.A., C/O SN SERVICING CORPORATION, 323 5TH STREET, EUREKA, CA
95501


ELECTRONIC SERVICE - United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


Date: November 20, 2018                                      /s/ CHRIS WILLISON
                                                             CHRIS WILLISON
                                                             ORANGE CITY SQUARE
                                                             770 THE CITY DR. SOUTH, #8500
                                                             ORANGE, CA 92868
